Case 21-30589-MBK        Doc 1466     Filed 02/11/22 Entered 02/11/22 11:48:02         Desc Main
                                    Document      Page 1 of 2



  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY
  Caption in Compliance with D.N.J. LBR 9004-1(b)
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Case 21-30589-MBK         Doc 1466     Filed 02/11/22 Entered 02/11/22 11:48:02          Desc Main
                                     Document      Page 2 of 2




  In re:
                                                       Chapter 11
  LTL MANAGEMENT, LLC,
                                                       Case No.: 21-30589(MBK)
                               Debtor.
                                                       Honorable Michael B. Kaplan


  SUPPLEMENTAL CERTIFICATION OF YVETTE AUSTIN SMITH IN SUPPORT OF
    APPLICATION FOR RETENTION OF THE BRATTLE GROUP, INC. AS TALC
    CONSULTANTS TO THE OFFICIAL COMMITTEE OF TALC CLAIMANTS I

 I, YVETTE AUSTIN SMITH, being of full age, certify as follows:

           1.   This is a supplement to the original Certification of Professional in support of
                the Application For Retention of Professional The Brattle Group, Inc. (“Brattle”)
                [Docket No. 1289] (the “Original Certification”), filed on January 28, 2022.

           2.   Brattle reviewed the list of Potentially Interested Parties and Debtor affiliates.
                Brattle has received less than one percent (1%) of its total revenue over the past
                two (2) years from services provided to the companies listed below:

                      Valeant Pharmaceuticals International, Inc.,
                      Dollar General Corporation,
                      General Electric Company,
                      Walgreen Co.,
                      Walmart, Inc,
                      Avon Products, Inc.,
                      CVS Health Corporation,
                      Eaton Corporation,
                      Ford Motor Company, and
                      The Dow Chemical Company.


                I certify under penalty of perjury that the above information is true.




 Date: February 7, 2022
                                                      YVETTE AUSTIN SMITH
